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                       MONICA GORMAN                                                      MONICA GORMAN


                        4360 TUJUNGA AVE.
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                        STUDIO CITY, 91604
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